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          13
                                                UNITED STATES DISTRICT COURT
          14
                                             NORTHERN DISTRICT OF CALIFORNIA
          15
                                                        OAKLAND DIVISION
          16
                 MERIDIAN TREATMENT SOLUTIONS,                   CASE NO. 4:19-cv-005721-JSW
          17     INC., DESERT COVE RECOVERY, LLC,
                 and HARMONY HOLLYWOOD, LLC, on                  JOINT CASE MANAGEMENT
          18     behalf of themselves and all others similarly   STATEMENT
                 situated,
          19                                                      Date: Friday, May 20, 2022
                                       Plaintiffs,                Time: 11:00 a.m.
          20                                                      Judge: Hon. Jeffrey S. White
                        v.
          21                                                      Complaint filed: September 19, 2019
                 UNITED BEHAVIORAL HEALTH
          22     (operating as OPTUMHEALTH
                 BEHAVIORAL SOLUTIONS),
          23
                                       Defendant.
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            1           Plaintiffs Meridian Treatment Solutions, Inc., Desert Cove Recovery LLC, and Harmony
            2    Hollywood, LLC and Defendant United Behavioral Health (“UBH”), collectively the “Parties,” to the
            3    above-entitled action, having met and conferred through counsel on April 29, 2022 and May 5, 2022
            4    regarding the matters set forth herein, jointly submit this Joint Case Management Statement pursuant
            5    to the Court’s April 13, 2022 Order granting, in part, and denying, in part, Motion to Dismiss Second
            6    Amended Complaint and Setting Case management Conference (Dkt. 60) and Civil Local Rule 16-9.
            7    I. Jurisdiction and Service
            8           Plaintiffs allege, and the parties agree, that the Court has jurisdiction over the action, based on
            9    the allegations pleaded in the current complaint. Specifically, Plaintiffs allege that the Court has subject
          10     matter jurisdiction pursuant to 28 U.S.C. § 1332(d) because allegedly at least one Plaintiff is diverse
          11     from the Defendants and the amount in controversy exceeds $5,000,000. Plaintiffs also allege that the
          12     claims asserted involve matters of interstate and national interest, and the claims at issue arise under
          13     both California and federal law. However, Defendant reserves all defenses and objections to
          14     jurisdiction and standing based on the underlying facts.
          15     II. Facts
          16            A brief chronology of the facts and a statement of the principal factual issues in dispute.
          17            Plaintiffs’ Preliminary Statement
          18            Plaintiffs are behavioral health providers that render medically necessary services to patients in
          19     need of mental health and/or substance abuse disorder treatment. All Plaintiffs are out-of-network
          20     providers. Plaintiffs provided treatment to patients insured by Defendant, and these patients relied on
          21     Defendant to provide reimbursement for the medically necessary treatment care they receive.
          22     Plaintiffs’ claims for reimbursement of treatment were denied by Defendant based on medical necessity
          23     determinations.
          24            Plaintiffs have provided medically necessary treatment to patients with both ERISA and non-
          25     ERISA plans. Defendant misrepresents Plaintiffs’ statements below as to what representations were
          26     made during the meet and confer process. Plaintiffs have knowledge as to whether some of the patients
          27     they provided service to were covered under ERISA plans. However, this information is not available
          28     on members’ insurance cards and Defendant’s agents will not disclose this information when it is

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            1    requested on verification, authorization, or utilization calls. Defendant’s intentionally avoid disclosing
            2    whether members’ plans are fully insured (FI) or administrative services only (ASO). This information
            3    is readily available to Defendant and, in fact, already known to them.
            4           Defendant repeatedly misrepresented its intention to provide reimbursement for medically
            5    necessary treatment.    Instead, Defendant developed and used secret internal medical necessity
            6    guidelines based upon profitability and actuarial predictability, not generally accepted standards of care
            7    in the medical community. Because these guidelines were profit driven, disregarded nationally
            8    accepted and used standards and guidelines, and disregarded the opinions and advice of Defendant’s
            9    clinicians and staff, they no longer reflected “medical necessity” as it is understood in the healthcare
          10     industry. Defendant’s hidden reliance on these fraudulent medical guidelines to deny medically
          11     necessary treatment caused direct harm to Plaintiffs, who were forced to bear the cost of treatment for
          12     medically necessary claims that were refused for financial, rather than medical, reasons.
          13            Defendant UBH’s Preliminary Statement
          14            Even though Plaintiffs alleged in the complaint that they treated non-ERISA plan members and
          15     this Court allowed part of the case to proceed on this basis, during the meet and confer process
          16     Plaintiffs’ counsel have indicated that they have not identified any non-ERISA claims or members for
          17     two of three Plaintiffs (Meridian Treatment Solutions, Inc. and Harmony Hollywood, LLC), and under
          18     this Court’s rulings the only remaining claims involve services provided by Plaintiffs to non-ERISA
          19     members. Defendant also disputes Plaintiffs’ claims and allegations with respect to any non-ERISA
          20     members whom they treated. Plaintiffs claim that they entered into implied and/or oral contracts with
          21     Defendant and that Defendant breached those contracts by using allegedly illegal guidelines to make
          22     coverage decisions, but there is no basis for any of Plaintiffs’ claims. By way of example, Defendant
          23     never made any contractual commitments to cover treatments provided by Plaintiffs, on the phone calls
          24     alleged in the complaint or otherwise; nor did Defendant breach any commitments. Additionally, the
          25     guidelines used by Defendant to make medical necessity determinations were not illegal, as the Ninth
          26     Circuit recently recognized in reversing the decisions in a separate case on which Plaintiffs rely. Wit
          27     v. United Behavioral Health, 2022 WL 850647, at *2 (9th Cir. Mar. 22, 2022). Plaintiffs’ claims are
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            1    also untimely under the applicable statute of limitations and are separately barred by the contractual
            2    limitations.
            3           Defendant also has many other defenses to Plaintiffs’ claims, which will be presented in an
            4    answer to the complaint at an appropriate point.
            5           Defendant also disputes that there can be any class in this case. By way of example only,
            6    Plaintiffs’ claims are inherently individualized, they are not typical or adequate class representatives,
            7    and state law varies in ways that undermine many of Rule 23’s requirements. If this case continues
            8    through briefing on class certification, Defendant will present these and many other reasons why no
            9    class can be certified at an appropriate point.
          10            All of Plaintiffs’ claims and class allegations are without merit and should be rejected.
          11     III. Legal Issues
          12            Without waiving their respective positions and arguments, the Parties agree that disputed points
          13     of law remaining in this litigation include, but are not limited to:
          14            1.      Whether the parties formed any (1) implied in fact contracts or (2) oral contracts with
          15     Plaintiffs, and if so whether Defendant breached these contracts.
          16            2.      Whether Defendant made any promise to Plaintiffs sufficient to sustain a promissory
          17     estoppel claim, whether Plaintiffs relied on any such promise, and whether Defendant breached any
          18     promise.
          19            3.      Whether this action can be maintained as a class action under Fed. R. Civ. P. 23.
          20     IV. Motions
          21            There are currently no pending motions, though Plaintiffs intend to file a motion for leave to
          22     amend their complaint following necessary discovery, as addressed below. This Court previously ruled
          23     on several motions to dismiss. Defendant previously moved to dismiss and strike Plaintiffs’ Complaint
          24     (Dkts. 17, 20, 23, 24, 26), which the Court granted in part and denied in part (Dkt. 34), and Defendant
          25     then moved to dismiss the First Amended Complaint (Dkt. 38). Following Defendant’s motion to
          26     dismiss the First Amended Complaint, Plaintiffs sought leave to amend (Dkt. 39), which Defendant
          27     consented to via joint stipulation (Dkt. 41) and the Court granted (Dkt. 42). Following the Court’s
          28

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            1    order, Defendant moved to dismiss Plaintiffs’ Second Amended Complaint (Dts. 45 to 50), which the
            2    Court granted in part and denied in part (Dkt. 60).
            3           Plaintiffs’ Statement. Plaintiffs anticipate filing for leave to amend their complaint following
            4    targeted discovery as to the fraud as a cause of action against Defendant. Prior to doing so, Plaintiff
            5    intends on serving additional discovery requests on Defendant concerning the identification of its
            6    relevant state-law plans. Many plans offered by Defendant are not subject to ERISA and are fully-
            7    insured by Defendant, these include small or individual plans, “church” plans, local government health
            8    plans, and Student Resources plans. Plaintiffs further expect to file motions for class certification and
            9    summary judgment, in addition to opposing any potentially dispositive motion filed by Defendant.
          10     Plaintiff disputes Defendant’s statement that two of the three providers lack any non-ERISA claims.
          11     Plaintiffs may also file discovery motions at the appropriate time.
          12            Defendant’s Statement. Defendant reserves its right to oppose any motion for leave to amend
          13     by Plaintiffs, and also reserves its right to move to dismiss any amended complaint and/or seek
          14     dismissal of Plaintiffs for lack of standing. As explained above, two of the three named Plaintiffs lack
          15     any non-ERISA claims, so they lack Article III standing to seek relief under any of the remaining
          16     causes of action (which are limited to non-ERISA claims) and should be dismissed from the case.
          17            At an appropriate point, Defendant also intends to oppose any motion for class certification and
          18     anticipates filing a motion for summary judgment. Defendant also anticipates filing pretrial motions if
          19     the matter were to proceed to trial.
          20     V. Amendment of Pleadings
          21            Plaintiffs’ Statement. As discussed above, Plaintiffs intend to file for leave to amend their
          22     complaint for fraud after serving additional discovery requests on Defendant concerning the
          23     identification of its relevant state-law plans. Many plans offered by Defendant are not subject to ERISA
          24     and are fully-insured by Defendant, these include small or individual plans, “church” plans, local
          25     government health plans, and Student Resources plans. Plaintiffs are in possession of some, but not all,
          26     of this information. Plaintiffs require complete records to describe the full extent of Defendant’s
          27     fraudulent activities. Such information is easily accessible to, and is in the care custody and control of
          28     Defendant. Plaintiffs have met and conferred with Defendant to obtain state-law plan information

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            1    referenced above, but to date, Defendant has unreasonably refused to provide Plaintiffs such
            2    information.    Given the relatively small number of plans relevant to the three named class
            3    representatives, Defendant can easily to generate a report identifying its members who have received
            4    services from Plaintiffs. While Plaintiffs engaged in robust due diligence prior to bringing this action
            5    against Defendant, the information sought from Defendant is not readily available to healthcare
            6    providers. Specifically, providers are rarely provided with plan information concerning ERISA, and
            7    insurance cards issued to plaintiffs do not indicate whether their plan is subject to ERISA. Despite its
            8    contention that “it is not Defendant’s job to provide Plaintiffs with the factual basis for a fraud claim,”
            9    Defendant is uniquely in control of the information sought by Plaintiffs.
          10             Defendant’s Statement. Any motion for leave to amend by Plaintiffs should be filed promptly,
          11     so that the pleadings can be settled and the case can move forward. Plaintiffs are already on their third
          12     complaint, and there is no basis to defer yet another amended compliant pending discovery into whether
          13     Plaintiffs can come up with any basis for fraud claims that they already attempted to assert and this
          14     Court already dismissed multiple times in previous complaints. Defendant’s answer is currently due
          15     May 27, but if Plaintiffs amend their complaint, Defendant’s answer will be due 30 days from the
          16     Court’s order granting or denying Plaintiffs’ motion for leave to amend.
          17             Plaintiffs claim that they need discovery to discern which members they treated were enrolled
          18     in non-ERISA plans, so that they can attempt to bring fraud claims related to unreimbursed amounts
          19     for these treatments. But this gets the cart before the horse: it is up to Plaintiffs to conduct the necessary
          20     diligence before they bring fraud claims, and to plead facts sufficient to satisfy Rule 9(b). It is not
          21     Defendant’s job to provide Plaintiffs with the factual basis for a fraud claim. See Hoang v. Vinh Phat
          22     Supermarket, Inc., 2013 WL 4095042, at *15(E.D. Cal. Aug. 13, 2013) (declining to permit exceptions
          23     to Rule 9(b)’s particularity requirement based on cases that preceded Twombly and Iqbal); Saterbak v.
          24     Nat’l Default Servicing Corp., 2016 WL 4430922, at *10 (S.D. Cal. Aug. 22, 2016) (rejecting effort to
          25     use claim of fraud “as a pretext for the discovery of unknown wrongs”).
          26             Plaintiffs specifically argue they need discovery into which patients were enrolled in non-
          27     ERISA plans. But Plaintiffs already represented to this Court—in previous complaints and in response
          28     to Defendant’s motion to dismiss—that they treated non-ERISA members and had a factual basis for

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            1    contract and fraud claims related to these treatments. Dkt. 44, ¶¶ 220, 223-224, 531; Dkt. 46 at pp. 1-
            2    2 (detailing the alleged factual basis for Plaintiffs’ fraud claims);id. at p. 2 (claiming that Plaintiffs’
            3    contract and promissory estoppel claims “are based on Defendant’s independent promises that they
            4    would reimburse Plaintiffs for valid, medically necessary claims”). Plaintiffs had an obligation to
            5    perform the required diligence into the factual basis for their non-ERISA claims and allegations before
            6    bringing these claims and causing Defendant and the Court to analyze motions to dismiss on them.
            7    Checking Plaintiffs’ intake documentation to discern which plans their patients were enrolled in, and
            8    finding out whether the plans were ERISA (generally commercial plans) or non-ERISA (e.g., state and
            9    local government plans, individual policies) is something Plaintiffs and their counsel could and should
          10     have done before asserting non-ERISA claims. Doing this would have involved essentially the same
          11     plan-by-plan, manual analysis that they are now asking this Court to make Defendant do for them in
          12     discovery, after they have already brought the claims and assured the Court they exist. Yet, it is only
          13     Plaintiffs who know which phone calls and communications by Defendant they contend were
          14     fraudulent, and so only they can determine which of these transactions (if any) involved non-ERISA
          15     members.
          16            If Plaintiffs believe they have any factual basis for fraud claims, they should promptly move
          17     for leave to amend and present the basis for any proposed fraud claims now. Defendant otherwise
          18     reserves all rights to oppose any further amendment of the pleadings.
          19     VI. Evidence Preservation
          20            The Parties have reviewed the Guidelines Relating to the Discovery of Electronically Stored
          21     Information (“ESI Guidelines”), and have begun the meet and confer process pursuant to Fed. R. Civ.
          22     P. 26(f). The Parties will continue to discuss whether and to what extent any additional steps may be
          23     necessary to ensure the preservation and production of relevant evidence.
          24            The Parties will exchange and negotiate an ESI Protocol and will work to finalize agreed-upon
          25     versions which will be presented to the Court for review and approval. The Parties will also file a
          26     stipulated Protective Order for this action.
          27

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            1    VII. Disclosures
            2            The Parties will serve initial disclosures by July 29, 2022. The disclosures will include the
            3    topics enumerated in Fed. R. Civ. P. 26(a)(1). The Parties do not believe that any changes need to be
            4    made in the form or requirement of the disclosures.
            5    VIII. Discovery
            6            The Parties have not yet served formal discovery requests, but they have discussed the areas
            7    subject to discovery and will be serving formal requests soon.
            8            Plaintiffs’ Position.
            9            The Parties having recently met and conferred pursuant to Rule 26, Plaintiffs intend to proceed
          10     with discovery. Plaintiffs first intend to take class discovery, which will be followed by discovery on
          11     the merits after class certification. Prior to moving for leave to amend its complaint, as discussed
          12     above, Plaintiffs intend on requesting that Defendant produce a list of its plans that are not subject to
          13     ERISA and are fully-insured by Defendant. These include small or individual plans, “church” plans,
          14     local government health plans, and Student Resources plans. Such information is easily accessible to,
          15     and is in the care custody and control of, Defendant. Plaintiffs have met and conferred with Defendant
          16     to obtain state-law plan information referenced above, but to date, Defendant has unreasonably refused
          17     to provide Plaintiffs such information. Plaintiffs may require judicial assistance concerning discovery
          18     on this issue.
          19             Discovery in this matter will involve the specific facts and circumstances associated with
          20     Defendant’s development and application of its medical necessity and level of care guidelines as well
          21     as the role of financial considerations and pressures with those guidelines. Additionally, Plaintiffs will
          22     request that Defendant produce copies of patient files, verification call recordings, pre-authorization
          23     call recordings, utilization review call recordings, and documentation of relevant provider appeals,
          24     including the denial of any such appeals. Plaintiffs have no objection to producing all of the claims
          25     data in their possession, custody, care, or control. Plaintiffs reserve the right to modify their position
          26     as additional materials and information come to light during the discovery process.
          27             Defendant’s Position.
          28

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            1              Defendant does not envision formal bifurcated discovery, but expects that early in the case, the
            2    Parties will work together to prioritize discovery relevant to Plaintiffs’ anticipated motion for class
            3    certification. Defendant also anticipates that some discovery—i.e., information that would be needed
            4    only if a class is certified—can be deferred until after a ruling on class certification to efficiently use
            5    the Parties’ (and the Court’s) time and resources. Defendant anticipates working through these issues
            6    cooperatively with Plaintiffs’ counsel, and does not anticipate disputes arising from the above
            7    prioritization. Defendant anticipates seeking discovery into the basis for Plaintiffs’ claims, as well as
            8    their alleged injuries and/or damages.
            9    IX. Class Actions
          10               Plaintiffs’ Statement. Plaintiffs bring this class action on behalf of themselves and all those
          11     similarly situated treatment providers who were directly injured by Defendant’s scheme to intentionally
          12     misrepresent its medical necessity determinations, which were based upon profitability and not
          13     generally accepted standards of care in the medical community. These determinations were not made
          14     on a case-by-case basis, but instead represented systematic action on the part of Defendant to avoid
          15     payment of medically necessary claims. Plaintiffs bring this class action on behalf of the Plaintiff
          16     Class, defined as any behavioral healthcare provider, who, between May 21, 2011 and January 31,
          17     2019, were denied on the basis of “medical necessity” such that the determination of “medical
          18     necessity” was made through the application of Defendant’s fraudulent medical necessity guidelines;
          19     and where such class remains unpaid for the treatment rendered to Defendant’s members. All providers
          20     in the aforementioned Plaintiff Class used guidelines based upon medical necessity, including the
          21     guidelines prepared by the American Society of Addiction Medicine (“ASAM”). Defendant’s
          22     guidelines were unreasonably based upon profit generation and differed significantly from nationally
          23     accepted and utilized guidelines, including those used by Plaintiffs and the putative class.
          24               Defendant’s Statement. Defendant disputes that there is any basis for class certification, or that
          25     Plaintiffs will be able to show entitlement to damages or equitable/injunctive relief on a class-wide
          26     basis.
          27

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            1           The Parties’ specific proposals for discovery and briefing on a Motion for Class Certification
            2    are set forth in the proposed schedule below. The Parties have reviewed the Northern District of
            3    California’s Procedural Guidance for Class Action Settlements.
            4    X. Related Cases
            5           Counsel do not believe that there are any pending related actions, though some overlap with
            6    other cases may become apparent as discovery proceeds. The Parties will apprise the Court if any
            7    opportunities for coordination with other cases arise.
            8    XI. Relief
            9           Plaintiffs’ Statement. Plaintiffs seek an order requiring Defendant to re-review and reprocess
          10     claims initially denied for alleged lack of “medical necessity” using reasonable guidelines such as
          11     ASAM. Plaintiffs will request the appointment of a Special Master or neutral third-party administrator
          12     to oversee claims reprocessing. Plaintiffs further seek an order requiring Defendant to provide
          13     transparency for its medical necessity determinations, including providing public access to Defendants
          14     guidelines and recommendations. Plaintiffs further seek certification of the Plaintiff Class as set forth
          15     above. Plaintiffs pray for general, special, restitutionary, and compensatory damages in an amount
          16     according to proof; pre- and post-judgment interest on amounts being wrongfully denied; and
          17     injunctive and equitable relief, including disgorgement of Defendant’s profits and enjoining Defendant
          18     from the conduct alleged in the Second Amended Complaint (dkt. 44). Plaintiffs will seek attorneys’
          19     fees and costs, and such other and further relief as the Court may deem appropriate.
          20            Defendant’s Statement. Defendant disputes that Plaintiffs are entitled to any relief. Defendant
          21     reserves all of their respective defenses to particular claims and remedies (assuming Plaintiffs are able
          22     to establish liability, which Defendant disputes).
          23     XII. Settlement and ADR
          24            To date, the Parties have not engaged in any settlement discussions. The Parties anticipate
          25     engaging in private mediation at an appropriate point, but believe it is premature to do so at this time.
          26     XIII. Consent to Magistrate Judge for All Purposes
          27            The Parties respectfully decline to have a magistrate judge conduct all further proceedings
          28     including trial and entry of judgment.

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            1    XIV. Other References
            2            At this time, the Parties do not believe that this case is suitable for reference to binding
            3    arbitration, a special master, or the Judicial Panel on Multidistrict Litigation.
            4    XV. Narrowing of Issues
            5            At this time, the Parties agree that it is premature to address any narrowing of issues for trial,
            6    but they will continue to confer on this topic as the case progresses.
            7    XVI. Expedited Trial Procedure
            8            The Parties agree that this action is not the type of case that can be handled under the Expedited
            9    Trial Procedure of General Order 64.
          10     XVII. Scheduling
          11             The Parties agree that it would be most productive and efficient to set a schedule now for class
          12     certification discovery and briefing, and to defer setting a schedule for dispositive motions and trial
          13     until after a ruling on class certification, because of the significant impact this Court’s class certification
          14     ruling will have on the future trajectory of this case. If no class is certified, then the case will proceed
          15     solely on the claims of the individual Plaintiffs. If a class is certified, then the case would proceed on
          16     the claims of hundreds or thousands of providers who treated patients enrolled in different plans,
          17     governed by the laws of different states, and who had individualized phone calls and interactions that
          18     vary from provider to provider and claim to claim. The Parties also anticipate that this Court’s ruling
          19     on class certification also will help to define the claims, legal theories, and issues moving forward in
          20     the case, and the Parties anticipate that they will benefit from the Court’s guidance on these issues.
          21     Deferring summary judgment motions until after this Court rules on class certification is also consistent
          22     with the Ninth Circuit law, which generally favors ruling on class certification and allowing class
          23     members to opt out before ruling on merits issues. See, e.g., Schwarzschild v. Tse, 69 F.3d 293, 297
          24     (9th Cir. 1995); Villa v. San Francisco Forty-Niners, Ltd., 104 F. Supp. 3d 1017, 1021 (N.D. Cal.
          25     2015). The Parties therefore jointly propose the following deadlines:
          26

          27                             Event                                           Proposed Deadline
          28      Deadline for Initial Disclosures
                                                                                             July 29, 2022
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            1
                                           Event                                        Proposed Deadline
            2

            3
                  Close of class fact discovery
                                                                                         December 16, 2022
            4
                  Deadline for Plaintiffs to file Motion for Class
            5     Certification and all supporting declarations,                          January 12, 2023
                  evidence and other papers, including expert
            6
                  reports in support of class certification
            7     Deadline for Defendant to file Opposition to
                  Motion for Class Certification and all supporting                      February 28, 2023
            8     declarations, evidence and other papers,
                  including expert reports in opposition to class
            9     certification
          10      Deadline for Plaintiffs to file Reply in Support
                  of Motion for Class Certification                                        March 16, 2023
          11      Hearing on Motion for Class Certification               April 7, 2023 at 9:00 am or such other time as
                                                                                may be convenient for the Court.
          12
                  Further Status Conference to set a schedule for              As soon as is convenient for the Court
          13
                  summary judgment motions, any final discovery,             following its ruling on class certification.
          14      pre-trial proceedings, and trial, among other
                  things
          15
                 XVIII. Trial
          16
                        Plaintiffs’ Statement. Plaintiffs request a jury trial for all matters so triable.
          17
                        Defendant’s Statement. Defendant requests a jury trial for all matters so triable.
          18
                 XIX. Disclosure of Non-Party Interested Entities or Persons
          19
                        Defendant submitted its disclosures of non-party interested entities or persons on May 11, 2020.
          20
                 See Dkt. 32.
          21
                 XX. Professional Conduct
          22
                        All attorneys of record have reviewed the Guidelines of Professional Conduct for the Northern
          23
                 District of California.
          24
                 XXI. Such Other Matters As May Facilitate the Just, Speedy, and Inexpensive Disposition of
          25     This Matter
          26            The Parties’ anticipated Stipulated Protective Order and ESI Protocol also may include other

          27     agreements of the Parties.

          28

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            1    Dated: May 13, 2022
                                                       GIBSON, DUNN & CRUTCHER LLP
            2

            3
                                                       By: /s/ Geoffrey Sigler
            4                                                              Geoffrey Sigler
            5                                          Attorneys for Defendant UNITED BEHAVIORAL
                                                       HEALTH
            6
                 Dated: May 13, 2022                   ARNALL GOLDEN GREGORY LLP
            7

            8
                                                       By: /s/ Matthew M. Lavin
            9                                                          Matthew M. Lavin
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          11     Dated: May 13, 2022                   DL LAW GROUP
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          13                                           By: /s/ David Lilienstein
                                                                         David Lilienstein
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                                                       Attorneys for PLAINTIFFS
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Crutcher LLP                                               13
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            1                          ATTESTATION PURSUANT TO LOCAL RULE 5-1
            2
                        I, Geoffrey Sigler, am the ECF user whose identification and password are being used to file
            3
                 this document. Pursuant to Civil Local Rule 5-1(h)(3), I hereby attest that concurrence in the filing of
            4
                 this document has been obtained from the other signatories hereto.
            5
                 Dated: May 13, 2022
            6
                                                                        /s/ Geoffrey Sigler
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                                                                        Geoffrey Sigler
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